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B 2100A (Form 2100A) (12/15)

UNITED STATES BANKRUPTCY COURT

District of Maryland [+]

In re Gladstone Dainty

 

Case No. 13-21911

TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

Veripro Solutions
Name of Transferee

 

Name and Address where notices to transferee
should be sent:

Veripro Solutions, Inc.

PO BOX 3572 Coppell, TX 75019

Phone: 469-426-3081
Last Four Digits of Acct #: 60

 

Name and Address where transferee payments
should be sent (if different from above):

Veripro Solutions, Inc.
PO BOX 3244 Coppell, TX 75019

Phone: 469-426-3081
Last Four Digits of Acct#:__——— 60

 

HSBC Bank USA, N.A., et alc/o Nationstar

 

Name of Transferor

Court Claim # (if known): 26
Amount of Claim: $55,065.57
Date Claim Filed: 12/12/2013

Phone: 800-766-7751
Last Four Digits of Acct.#: 8421 _—|

 

I declare under penalty of perjury that the information provided in this notice is true and correct to the

best of my knowledge and belief.

By:/s/ Shauntel Walton
Transferee/Transferee’s Agent

 

Date:_ 10/30/2018

 

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
